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UN|TED STATES DlSTFllCT COUFtT

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W/D OF .;.- .t-ii:l,iPl~fS
SHELLY PERKINS

Edwin Per[y, FPD
Defense Attorney

200 Jefferson Avenue, Suite 200
Memphis, Tennessee 38103

 

JUDGMENT |N A CRlM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant was found guilty on Count 1 and 2 of the indictment on April 14, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & section _N_at_urM Mel.u_d.e€_i M(§)
18 U.S.C. § 922(9) Fe|on in possession of firearms 06/02/2003 1 & 2

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the l\/|andatory
Victims Flestitution Act of 1996.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. 401 ~04-2932 Date of imposition of Sentence:
Defendant’s Date of Birth: 06/11/1956 July 15, 2005
Deft’s U.S. Marsha| No.: 19748-076

Defendant’s N|ai|ing Address:
2998 Spottswood Avenue
Memphis, TN 38111

.éW//“'L»-

SA|V|UEL H. |VlAYS, JF{.
UN|TED STATES DlSTFl|CT JUDGE

I%`

 

July , 2005

This dcc\_ment entered on the docket she tin omplianc
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Case No: 04-20260-01-N|a
Defendant Name: Sheily Perkins Page 2 of 5

lN|PR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of one hundred eighty (180) months.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Niarshai.

FlETURN

i have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshai

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Case No: 04~20260-01-Ma
Defendant Name: Shelly Perkins Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of three (3) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised reiease, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain frorn any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer',

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation cfficer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, trainingl or other acceptable reasons;

S. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered',

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 04-20260-01-Ma
Defendant Name: Shelly Perkins Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court',

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine cr a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPEFW|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Case No: 04-20260-01~Ma
Defendant Name: Shelly Perl<ins Page 5 of 5

CR|N|\NAL MONETAR¥ PENALTlES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(1). A|i of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Ftestitution
$200.00

 

The Speciai Assessment shall be due immediately

F|NE
No fine imposed

REST|TUT|ON
No Ftestitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 81 in
case 2:04-CR-20260 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

Edwin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

